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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION


WILDEARTH GUARDIANS,

            Plaintiff,                   Case No. CV-18-110-GF-BMM

     v.                                  PLAINTIFF’S COMBINED
                                         RESPONSE-REPLY IN
ELAINE L. CHAO, et al.,                  OPPOSITION TO DEFENDANTS’
                                         MOTION FOR SUMMARY
                                         JUDGMENT AND IN SUPPORT
            Federal Defendants.          OF CROSS-MOTION FOR
                                         SUMMARY JUDGMENT
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                                 INTRODUCTION
      Under the standard set by the Supreme Court in Norton v. Southern Utah

Wilderness Alliance, a failure to act claim under Section 706(1) of the

Administrative Procedure Act (“APA”) “can proceed only where a plaintiff asserts

that an agency [1] failed to take [2] a discrete agency action [3] that it is required to

take.” 542 U.S. 55, 64 (2004) (emphasis omitted) (citing 5 U.S.C § 706(1)). Unlike

most failure to act cases, Federal Defendants (collectively “PHMSA”) do not deny

that Section 185(w)(3) of the Mineral Leasing Act (“MLA”) gives rise to a discrete

agency action it is required to take—namely the annual inspection of all pipelines

on federal lands. See Defs.’ Mem. in Opp’n, Doc. 44 at 1 (citing 30 U.S.C. §

185(w)(3)). Instead, PHMSA solely disputes that it has failed to act to meet this

duty. Id. at 7. PHMSA contends that its promulgation of pipeline safety regulations

under a different act—the Pipeline Safety Act (“PSA”)—automatically satisfies its

duty under the MLA without additional evidence. Id. at 8. But, this superficial

argument fails to resolve the fundamental issue of this case—whether the specific

duty outlined under the MLA is actually occurring or whether PHMSA is failing to

act. Without evidence (e.g. inspection reports) to support its conclusion that its

existing PSA regulations in fact cause the discrete, legally-required inspections

under MLA Section 185(w)(3), PHMSA cannot meet its burden under summary

judgment. Thus, we request that this Court grant Guardians’ motion for summary



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judgment, deny PHMSA’s cross-motion for summary judgment, declare that

PHMSA is violating Section 185(w)(3) of the MLA, and compel agency action

unlawfully withheld.

                                     ARGUMENT
    I.   PHMSA Has Failed to Act to Cause the Annual Examination of All
         Pipelines On Federal Lands.
         A.    The Existence of PHMSA’s PSA Regulations Does Not
               Demonstrate that PHMSA Has Acted as Required by the MLA.
         PHMSA’s main argument—that it implements Section 185(w)(3) of the

MLA through its PSA regulations—relies on the faulty premise that the mere

existence of its PSA regulations is enough to meet the specific action required

under the MLA. This argument must fail for one simple reason: no evidence

supports PHMSA’s claim that inspections1 are actually occurring. PHMSA must

actually prove, either through inspection reports or other evidence, that it has taken

the specific action required by the MLA. No such evidence exists in the record for

this case.

         The Ninth Circuit has held that a simple recitation of the requirements of

regulations is not sufficient to demonstrate actual agency action. Trinidad y Garcia




1 PHMSA claims that Guardians’ use of the terms “examination” and “inspection”
interchangeably is confusing. Doc. 44 at 22 n.8. Not so. Black’s Law Dictionary
demonstrates that the words are synonymous. Black’s Law Dictionary (11th ed.
2019) (defining “inspection” as “a careful examination of something, such as
goods (to determine their fitness for purchase)”) (emphasis added).


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v. Thomas, 683 F.3d 952, 957 (9th Cir. 2012); see also Envtl. Def. Fund, Inc. v.

Costle, 657 F.2d 275, 298 (D.C. Cir. 1981) (requiring “sufficient record evidence

to indicate that [the specific action] has been undertaken by the three defendants”).

In Trinidad y Garcia, the Secretary of State was required by regulation to make a

determination regarding whether a person subject to extradition would be tortured.

683 F.3d at 956. The court ultimately concluded that “the record before us provides

no evidence that the Secretary has complied with the procedure in Trinidad y

Garcia’s case.” Id. at 957. Rather, “[t]he State Department has submitted a generic

declaration outlining the basics of how extradition operates at the Department and

acknowledging the Department’s obligations under the aforementioned treaty,

statute and regulations, but the Department gives no indication that it has actually

complied with those obligations in this case.” Id. (emphasis added).

      Thus, evidence of actual compliance, rather than a recitation of regulatory

language, is needed in order for PHMSA to show that it has acted under MLA

Section 185(w)(3). Here, PHMSA has not provided any documentation relating to

the performance of annual pipeline inspections on federal land in the

administrative record for this case, and none of the records post-date 2008, see




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AR002693 & AR001590. Thus, there is no evidence that PHMSA is causing

examinations of all pipelines at least once per year. 2

      PHMSA also points to various Congressional reports3 and new rules revising

the PSA regulations to support its contention that it already implements the “cause

the examination” provision of the MLA. Doc. 44 at 8, Exs. 1–6. But the

Congressional reports merely reflect DOT’s opinion that it was achieving

compliance with the MLA through its PSA regulations, and the cited rules merely

incorporate general statements into the regulatory preamble echoing this opinion.

Ultimately, these documents fail to constitute the evidence necessary to prove that

examinations are actually occurring. Trinidad y Garcia, 683 F.3d at 957.




2Although PHMSA also cites to Alan Mayberry’s declaration as proof of its
compliance with the MLA, Doc. 44 at 9 (citing Doc. 39), this argument does not
withstand scrutiny. The declaration merely provided that “PHMSA causes pipeline
examinations through its comprehensive pipeline safety regulations which require
operators to examine their pipelines.” Doc. 39, ¶ 5. Missing is whether PHMSA
causes the annual inspections of all pipelines on federal lands. See National
Resources Defense Council v. U.S. E.P.A., 437 F.Supp.2d 1137, 1160 (C.D. Cal.
2006) (holding that EPA could not pick and choose to which sources its mandatory
duty applied).
3 As Guardians explained in its Motion for Summary Judgment, Congress
purposefully assigned the duty “to cause the examination of all pipelines . . . on
federal lands” to the Department of Transportation when it passed the MLA as a
check on “the oil-industry-dominated Interior Department.” Doc. 40-1 at 21.
Congress declined to remove Section 185(w)(3) during subsequent amendments of
the MLA. Id. at 15; see also Doc. 30 at 2 (accord).


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      PHMSA also argues that it may choose between ad hoc adjudication or

rulemaking in order to comply with statutory provisions, citing Yang v.

Immigration & Naturalization Service, 79 F.3d 932 (9th Cir. 1996) and Security

Exchange Commission v. Chenery, 332 U.S. 194 (1947), for support. These cases

are inapplicable here. Both involved whether an agency regulation, as applied to a

regulated entity, was valid. See, e.g., Yang, 79 F.3d at 935 (deciding the validity of

a rule categorically barring a particular class of asylum applicants); Chenery, 332

U.S. at 197 (deciding whether an agency had authority to promulgate an ad hoc

rule related to a holding company’s specific actions). Here, the issue is whether

PHMSA has failed to act, not whether an existing PHMSA regulation is valid.

      Overall, PHMSA’s arguments evince a fundamental misunderstanding of the

agency action needed to satisfy Section 185(w)(3). See Doc. 44 at 19 (arguing that

“PHMSA has acted to issue regulations”). Any action vaguely related to the duty at

issue does not automatically satisfy the statutory mandate; instead the action must

necessarily be informed by the specific nondiscretionary duty at issue as well as

the statute’s purpose. See Norton v. S. Utah Wilderness All., 542 U.S. at 65

(recognizing that an order compelling prompt issuance of regulations would be

proper where the statute required an agency “to establish regulations to implement”

a statutory requirement by a date certain) (quoting 47 U.S.C. § 251(d)(1)). Here,

PHMSA argues generally that because it has done something, a Section 706(1)



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cause of action does not exist. Doc. 44 at 19. However, PHMSA’s ultimate action

must actually satisfy its nondiscretionary duty to “cause the examination of all

pipelines and associated facilities on federal lands.” 30 U.S.C. § 185(w)(3). To

read otherwise would render the provision under the MLA wholly ineffective, an

outcome which the Supreme Court strongly counsels against. United States v.

Powers, 307 U.S. 214, 217 (1939); Kenai Peninsula Borough v. State of Alaska,

612 F.2d 1210, 1214 (9th Cir. 1980), aff’d sub nom. Watt v. Alaska, 451 U.S. 259

(1981). Put another way, although PHMSA has discretion in the way it meets its

mandatory duty, its action cannot be so far removed from the original statutory

mandate as to nullify that mandate. Ultimately, PHMSA might prevail in this

argument if the agency had provided evidence of inspections and Guardians had

challenged the adequacy of those inspections. But here, PHMSA asks the Court to

determine it has taken the required action simply by enacting regulations that

require inspections of some pipelines. PHMSA’s nondiscretionary duty under

Section 185(w)(3) is not to promulgate regulations; rather it is to “cause the

examination of all pipelines and associated facilities on federal lands.” Because

PHMSA has provided no evidence demonstrating that actual inspections are

occurring, PHMSA cannot claim that it has taken action to meet its duty under the

MLA.




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B.    Because Discrete, Legally-Required Action Remains, Guardians’ 706(1)
      Claim is Proper.
      With PHMSA’s argument that the existence of its PSA regulations equates

to compliance with Section 185(w)(3) of the MLA invalid, PHMSA’s dependent

argument—that Guardians is actually challenging an agency action under APA §

706(2)—must also fail. A discrete, legally-required action under the MLA still

remains to be fulfilled.

      PHMSA cites to three Ninth Circuit cases to support its argument that

Guardians is challenging the sufficiency of its existing pipeline regulations, and

not bringing a true failure to act claim. Doc. 40-1 at 16–17. All of these cases are

distinct from the issue here. None involved whether an agency action under one

statute would satisfy a nondiscretionary duty under a different statute. Indeed, in

Nevada v. Watkins, the main issue of the case was not even a failure to act, but

rather whether the Secretary of the Department of Energy’s action under the

Nuclear Waste Policy Act (“NWPA”) to “issue general guidelines for the

recommendation of site for repositories [of nuclear waste]” was final and therefore

subject to judicial review. 939 F.2d 710, 712 (9th Cir. 1991) (citing 42 U.S.C. §

10141(b)(1)(A)). The court solely addressed a potential failure to act claim in dicta

in a footnote, noting that review under the NWPA was not available because the

Secretary had acted to issue the guidelines. Id. at 714, n.11. Here, if the MLA only

required PHMSA to issue regulations, like the duty in Watkins to issue guidelines,


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its duty would perhaps be complete. But, this is not the action at issue here. See 30

U.S.C. § 185(w)(3). Thus, Watkins is uninstructive.

      Similar reasoning applies to the decision in Ecology Center v. U.S. Forest

Service, 192 F.3d 922 (9th Cir. 1999). In Ecology Center, the forest plan required

the Forest Service to “produce annual, biannual and five-year reports containing

monitoring data” to evaluate the efficacy of the forest plan. Id. at 924. Plaintiffs

claimed that the Forest Service had “continuously failed to meet its monitoring

duty required under [a forest] Plan,” because the Service had failed to produce

monitoring reports in two years out of the 10 year life of the plan. Id. at 926. The

court ultimately found that “the record demonstrates that the Forest Service

performed extensive monitoring and provided detailed reports recounting its

observations” and that it “merely failed to conduct its duty in strict conformance

with the Plan and NFMA Regulations.” Id. Unlike defendants in Ecology Center

who could point to monitoring reports for all but two of the 10-year monitoring

time frame, here, PHMSA cannot point to any evidence that it has actually caused

the examination of all pipelines and associated facilities on federal lands at any

time in the past. No inspection reports exist in the record; therefore the

nondiscretionary agency action at issue in the MLA remains unfulfilled.

      Finally, PHMSA again relies on Hells Canyon Preservation Council v. U.S.

Forest Service, 593 F.3d 923 (9th Cir. 2010) to claim that Guardians is actually



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presenting a Section 706(2) claim. Doc. 44 at 17–18. But, as this Court recognized

in its Order on PHMSA’s Motion to Dismiss, Guardians’ failure-to-act claim is not

analogous to the facts in Hells Canyon because there the Forest Service had

actually acted and closed trails within wilderness area boundaries. Doc. 30 at 12

(citing Hells Canyon, 593 F.3d at 932–33). In contrast, here, there is no evidence

that PHMSA has actually caused the annual examination of all pipelines on federal

lands. And, as Guardians explained in its Motion for Summary Judgment, Doc. 40-

1 at 19, the fact that PHMSA has acted to promulgate regulations under the PSA

does not automatically mean that PHMSA has acted to comply with a mandatory

duty under a different statute. K.M. ex rel. Bright v. Tustin Unified School Dist.,

725 F.3d 1088, 1092, 1099–1101 (9th Cir. 2013) (holding that compliance with

one statute did not result in per se compliance with a different statute where the

statutes had “material differences”). Although the Ninth Circuit’s decision in K.M.

ex rel. Bright did not include a failure to act claim, Bright is factually more similar

to the case at hand than all of the failure to act cases cited by PHMSA because

Bright involved whether compliance under one statute resulted in automatic

compliance under a similar statute—an issue which the courts have yet to decide in

the failure to act realm.

      In addition, the decision in Vietnam Veterans of America v. Central

Intelligence Agency, 811 F.3d 1068 (9th Cir. 2016) remains pertinent despite



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PHMSA’s mischaracterization of the case. Vietnam Veterans involved two failure

to act claims under 706(1): failure to provide former chemical test subjects with

new information regarding impacts to their health and failure to provide ongoing

medical care. Id. at 1071. The district court held that both duties were

nondiscretionary under 706(1), but found that relief was not available for the

second duty because Veterans Affairs was already providing medical care. Id. The

Ninth Circuit affirmed with regard to the mandatory duties but reversed on the

issue of relief, holding that the Army was obligated to provide medical care. Id.

Specifically, the Army had argued that its duty to provide medical care was limited

to the time period during the actual experiments but not thereafter. Id. at 1080. In

deciding against this interpretation, the court turned to the plain text of the

regulation, explaining that there was no temporal restriction evident and that the

term “all” in the phrase “volunteers are authorized all necessary medical care”

meant all. Id. at 1081. Here, the plain text of the MLA compels the same outcome:

PHMSA must demonstrate that it is causing the examination of all pipelines on

federal lands. Based on the evidence before the court, the agency has not complied

with this requirement.

      PHMSA also claims that Guardians attempts to read a nonexistent record-

keeping requirement into the statute. Doc. 44 at 21. This is not the case. Guardians’

claim is based on the lack of any evidence that the requisite inspections are



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actually occurring as required by the MLA, not on the agency’s failure to keep

inspection records. Without evidence of annual inspections, from inspection

records or other documentation, Guardians and the public (and likely PHMSA) are

left in the dark as to whether the agency is complying with its mandatory duty.

This evidentiary void of performance of a nondiscretionary duty supports summary

judgment in Guardians’ favor. See Trinidad y Garcia v. Thomas, 683 F.3d 952,

956 (9th Cir. 2012); Envtl. Def. Fund, Inc. v. Costle, 657 F.2d 275, 297 (D.C. Cir.

1981); see also Hyatt v. U.S. Patent & Trademark Office, 146 F. Supp. 3d 771, 782

(E.D. Va. 2015) (explaining that the U.S. Patent Office’s duty to “cause an

examination” of submitted patents was demonstrated by evidence in the record).

      Finally, PHMSA broadly avers that Guardians’ reading of Section 706(1)

would allow anyone to challenge lawful agency action when the agency acted in a

manner not believed to fully comply with the law. Doc. 44 at 22. This is a gross

mischaracterization. As Guardians has admitted, the strict requirements set forth in

Norton v. Southern Utah Wilderness Alliance apply here. Doc. 40-1 at 9. Without

an agency’s failure to act to cause a discrete, legally-required action, an APA

706(1) claim would not be valid. But, here, all of these requirements are met.

PHMSA has conceded that a discrete, legally-required duty exists, Doc. 44 at 1,




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and PHMSA has failed to demonstrate that it has acted. Thus, Guardians has met

its burden.4

II.   Guardians’ Injuries are Caused by PHMSA’s Failure to Cause Annual
      Inspection of Pipelines on Federal Lands.
      Guardians has established standing through the declarations of its members

submitted with Guardians’ Motion for Summary Judgment. See Docs. 40-1, 40-3,

40-4, 40-5. PHMSA challenges Guardians’ standing on the ground that Guardians

has not demonstrated that PHMSA, rather than pipeline operators, causes

Guardians’ injuries. Doc. 44 at 31. The second prong in the standing inquiry,

causation, requires a plaintiff to show that the alleged injury is “fairly traceable to

the challenged action of the defendant.” Friends of the Earth v. Laidlaw, 528 U.S.

167, 180 (2000). To satisfy the “fairly traceable” requirement, a defendant’s action

need not be “the very last step in the chain of causation.” Bennett v. Spear, 520

U.S. 154 (1997). This principle particularly applies where the injury is “produced

by determinative or coercive effect [of agency action] upon the action of someone

else,” such as by a decision that “alters the legal regime to which the action agency




4 PHMSA also argues that Guardians “implies” that this Court has resolved the
issue of whether PHMSA has failed to act in its order on the motion to dismiss.
Doc. 44 at 21. Guardians made no such implication. Guardians plainly stated the
standard of review at the summary judgment stage in its memorandum, Doc. 40-1
at 2–5. More importantly, PHMSA has provided no evidence that it is actually
causing the examination of all pipelines on federal lands, and therefore it fails to
meet the required evidentiary standard required at summary judgment.


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is subject.” Id. at 169; see also Nat’l Parks Conservation Ass’n v. Manson, 414

F.3d 1, 6 (D.C. Cir. 2005) (accord).

      PHMSA incorrectly argues that Guardians’ injuries are solely traceable to

the actions of third party pipeline operators rather than to PHMSA, and faults

Guardians for not providing any facts regarding activities of pipeline operators.

Doc. 44 at 32. But pipeline operators on federal lands cannot be the cause of

Guardians’ injuries where PHMSA has provided no record evidence that the

agency is exerting its MLA authority over pipeline operators or that these operators

are choosing not to comply. Even if pipeline operators on federal lands could be

considered the direct cause of Guardians’ injuries (which they cannot, because the

record contains no evidence that operators are ignoring a PHMSA directive),

PHMSA is the indirect cause of those injuries because there is no record evidence

that PHMSA is compelling annual inspection of pipelines on federal lands.

      PHMSA’s argument that the party responsible for performing inspections—

pipeline operators—is the sole cause of Guardians’ injuries ignores Bennett’s

principle that PHMSA’s failure to act need not be the last step in the causal chain

to Guardians’ injuries.5 Here, if PHMSA were to compel annual inspection of


5 PHMSA relies on Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992) for
support. But Lujan is inapplicable here because the Court did not explicitly address
causation beyond noting that when a plaintiff claims injury from a regulation that
regulates someone other than the plaintiff, causation may hinge on the response of
the regulated entity. Id. at 562. Rather, the Court addressed plaintiffs’ various

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pipelines on federal lands, doing so would “alter the legal regime” and have a

“coercive effect” on pipeline operators to perform the inspections in the first place.

Bennett, 520 U.S. at 169–71 (holding where an agency has a “coercive effect” on

third party action that directly injures plaintiff, that coercive effect is an indirect

cause of plaintiff’s injury sufficient for standing); see also San Luis & Delta-

Mendota Water Auth. v. Salazar, 638 F.3d 1163, 1170 (9th Cir. 2011) (holding that

plaintiffs’ “injury, then—although directly caused by Bureau’s compliance with

the Biological Opinion—is ‘fairly traceable’ to the Service’s ability to enforce

ESA § 9 [through the Biological Opinion].”). There is no record evidence that the

inspections are occurring and PHMSA admits that it has no process in place to

cause inspection of all pipelines on federal lands. Thus, PHMSA is causing

Guardians’ injuries.

       If PHMSA were to assert its authority in Section 185(w)(3) and mandate

annual inspections of all pipelines on federal public lands, such a requirement

would have a coercive effect on pipeline operators who, like the Bureau of

Reclamation in Bennett and San Luis, could chose to “disregard” PHMSA’s



theories of injury from an interpretive rule, and determined that none met the
injury-in-fact test. Id. at 563–67. The Court also determined that the relief plaintiffs
sought—ordering revision of the challenged rule—would not remedy plaintiffs’
injuries because there was an “open question” as to whether the Endangered
Species Act conferred authority on the Secretary of Interior to promulgate the rule.
Id. at 568–69.


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inspection requirement, but would do so at their own peril.6 Because pipeline

operators are regulated by PHMSA pursuant to its authority under Section

185(w)(3) of the MLA, they would not be akin to the type of independent third

party actors in the cases cited by PHMSA that break the causal chain between

PHMSA and Guardians’ injuries.

      PHMSA relies on Simon v. East Kentucky Welfare Rights Organization, 426

U.S. 26 (1976), and Pritkin v. U.S. Department of Energy, 254 F.3d 791 (9th Cir.

2001), to support its third-party independent actor argument. Doc. 44 at 33. Neither

case is relevant here because both involve plaintiffs who sued agencies that lacked

statutory authority to redress plaintiffs’ injuries, rather than targeting the agencies

that actually caused the injuries and had the statutory duty required to redress those

injuries. See Simon, 426 U.S. at 33, 42–43 (no causation where hospitals’ denial of

indigent services could not be traced to Internal Revenue Service Ruling granting

tax benefits to those hospitals); Pritkin, 254 F.3d at 798 (no causation where one

agency’s lack of required medical monitoring program needed by plaintiff could

not be traced to another agency responsible only for the costs of the program and

lacking a statutory duty to implement the program). Here, in Section 185(w)(3) of


6 This is the relevant causal chain for a causation analysis, rather than PHMSA’s
proposed causal chain wherein operators choose not to annually inspect pipelines
on federal lands because no requirement exists to do so. Doc. 44 at 33. It is
PHMSA’s failure to act that causes inspections not to be performed, not an
independent decision by operators to ignore a non-existent requirement.


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the MLA, Congress imposed the statutory duty to cause annual pipeline

inspections on PHMSA, not pipeline operators. Thus, PHMSA’ failure to cause

inspections that could reveal (and ultimately remedy) leaking pipelines is the cause

of Guardians’ injuries.

III.   This Court Correctly Determined That This is a Failure to Act Case,
       and That It Has Jurisdiction.
       PHMSA continues to erroneously characterize this case as challenging the

sufficiency of the PSA regulations, and uses this mischaracterization as the basis

for rehashing unsuccessful arguments from its Motion to Dismiss regarding this

Court’s jurisdiction. Doc. 44 at 23–30; see also id. at 23 (“[C]hallenges to

PHMSA’s pipeline safety regulations must be heard in the court of appeals.”), 24

(“It is those regulations that are adversely affecting Plaintiff here . . . .”), 27 (“It

would be the administrative record for the PHMSA rulemaking that was being

challenged.”). As consistently stated throughout its briefing, however, Guardians is

challenging PHMSA’s failure to act to cause annual inspections of all pipelines on

federal lands as required by Section 185(w)(3) of the MLA. And PHMSA has not

provided any record evidence that these inspections are occurring. The Court

recognized that Guardians was bringing a failure-to-act claim, rather than a

challenge to PSA regulations:

       Wild[E]arth challenges the alleged failure of PHMSA to fulfill its delegated
       duty pursuant to the MLA – to cause the annual inspection of all oil and gas
       pipelines. The resolution of this issue presumably would require the Court,


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      “with its fact-finding capability,” to develop a record of PHMSA’s
      inspection activities. California Energy Comm’n, 585 F.3d at 1150. The
      Court would be required to determine whether Federal Defendants have
      complied with their statutory duty to cause the inspection of all pipelines
      that cross federal lands. 30 U.S.C. § 185(w)(3).

Doc. 30 at 24. Consequently, the Court held that it “possesses original jurisdiction

over a failure to act challenge to the MLA.” Id. at 14.

      PHMSA disputes this Court’s jurisdiction on two grounds: (1) the Court of

Appeals has exclusive jurisdiction over challenges to PHMSA’s PSA regulation,

and (2) the availability of judicial review in the Court of Appeals for PSA

regulations renders APA review unavailable. Doc. 44 at 23–30. Although the Court

rejected both of these arguments following thorough consideration of all of

PHMSA’s disparate arguments at the motion to dismiss stage, PHMSA takes issue

with this Court’s conclusions, and incorrectly characterizes the Court’s decision as

“conclud[ing] that the courts of appeals did not have jurisdiction because they

would not have the benefit of a fully-developed administrative record.” Id. at 26.

But PHMSA reads the Court’s jurisdictional decision too narrowly.

      First, the Court recognized that Congress had provided, through express

statutory language, exclusive jurisdiction to the courts of appeal to review

challenges to the PSA regulations by persons claiming to be harmed by those

regulations. Doc. 30 at 13. However, the Court also determined that because “[t]he

MLA provides no similar vehicle for appellate court review,” the Court has



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“original jurisdiction over a failure to act challenge to the MLA.” Id. at 14 (citing

Nat’l Wildlife Fed’n v. Espy, 45 F.3d 1337, 1342 (9th Cir. 1995)).

      Second, the Court also considered whether the “dual authority” cases

PHMSA relied on in its Motion, as well as other dual authority cases, applied to

divest the Court of jurisdiction to hear Guardians’ failure-to-act case. Doc. 30 at

15–21. Distinct from the exclusive jurisdiction principle, the dual authority

principle is considered where an agency action is challenged on two statutory bases

that give rise to separate paths for judicial review—one in the court of appeals and

one in the district court. See, e.g., Ruud v. U.S. Dept. of Labor, 347 F.3d 1086,

1087 (9th Cir. 2003) (challenging agency decision reached pursuant to the Clean

Air Act providing original jurisdiction in the Court of Appeals, and the

Comprehensive Environmental Response, Compensation, and Liability Act, which

did not); Sutton v. U.S. Dept. of Transp., 38 F.3d 621, 624–25 (2d Cir. 1994)

(accord); Int’l Bd. of Teamsters v. Pena, 17 F.3d 1478, 1481–82 (D.C. Cir. 1994)

(accord). Upon review of relevant case law, the Court determined that while

appellate court review was available in dual authority cases, it was “not

mandatory.” Doc. 30 at 19. Moreover, courts of appeals in dual authority case

opted to exercise original jurisdiction “only where they possessed a full

administrative record,” rendering district court review duplicative. Id. at 20–21

(citations omitted).



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      Ultimately, however, because the Court recognized that Guardians was

challenging PHMSA’s failure to act pursuant to a MLA statutory requirement, the

Court held that “[t]his approach would not apply here because dual statutory bases

do not give rise to two paths to review.” Id. at 21. Because “dual authority does not

exist” in this case and the case lacks a fully developed administrative record, “only

one path to review proves available” for Guardians’ failure-to-act claim, and that

“review rests in this Court.”7 Id. Thus, it is not merely the absence of an

administrative record that led the Court to conclude that it has jurisdiction here, as

PHMSA argues. Rather, it was (1) the basis for Guardians’ claim—failure to act

under the MLA, (2) the absence of a claim under a statute that provides for

exclusive jurisdiction of the Court of Appeals, and (3) the absence of a developed

record from an administrative proceeding that were dispositive. PHMSA’s

repeated assertions that this case is really a regulatory challenge that can only be

reviewed by the Court of Appeals does not make it so.

IV.   Remanding the PSA Regulations to PHMSA is Not the Proper Remedy
      for a Failure-to-Act Case Because the Regulations Are Not at Issue.
      Because PHMSA incorrectly claims this case challenges PSA regulations, it

incorrectly argues that the appropriate remedy here would be remand of the PSA




7This holding also defeats PHMSA’s argument that the availability of appellate
court review renders APA review in the district court unavailable. Doc. 44 at 29–
30.


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regulations to the agency for further consideration. Doc. 44 at 37. But remand of

agency regulations is appropriate where the regulations are challenged and found

unlawful, not where an agency has failed to perform a nondiscretionary duty

imposed by a statute or regulation. Compare Sierra Club v. U.S. Envtl. Prot.

Agency, 167 F.3d 658 (D.C. Cir. 1999) (remanding agency rule setting incinerator

standards challenged as insufficiently stringent to meet Clean Air Act

requirements) with Audubon Society of Portland v. Jewell, 104 F. Supp. 3d 1099,

1102–04 (D. Or. 2015) (ordering agency to prepare conservation plans for national

wildlife refuges as required by statute). This Court recognized that it “properly

could order PHMSA to take an action to comply with its non-discretionary duty.”

Doc. 30 at 11–12 (citing Norton v. S. Utah Wilderness All., 542 U.S. 55, 64

(2004)). Courts in this Circuit routinely grant injunctive relief to compel an agency

to perform its duty as expeditiously as practicable. See Guardians’ Mem. Doc. 40-1

at 21–25 (compiling cases discussing failure-to-act remedies). The Court should

follow this precedent here.

      PHMSA admits that it is not performing its nondiscretionary duty to cause

the inspection of all pipelines on federal lands. Doc. 44 at 34. Yet the agency tries

to deflect from this important fact to avoid a remedy relating to all pipelines on

federal lands by asserting that it “is hesitant to believe Congress would have

intended in Section 185(w)(3) to extend the agency’s regulatory reach to pipelines



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beyond those over which Congress has elsewhere given PHMSA authority.” Id. at

35. PHMSA also admits that the PSA regulations do not expressly acknowledge

Section 185(w)(3)’s requirement for annual inspections of pipelines on federal

lands, despite the agency’s litigation position that it caused these inspections

through the PSA regulations. Id. at 36. These admissions corroborate PHMSA’s

failure to act, rendering an injunction necessary “to effectuate the congressional

purpose behind the statute.” Biodiversity Legal Found. v. Badgley, 309 F.3d 1166,

1177 (9th Cir. 2002).

      Finally, Guardians is not asking the Court to “compel a new and different

agency action,” as PHMSA alleges. Doc. 44 at 38. Guardians is properly asking the

Court to “compel agency action unlawfully withheld” pursuant to APA § 706(1).

Doc. 40-1 at 22–23. The Ninth Circuit has rejected PHMSA’s “cramped” notion

that a district court’s equitable discretion is limited to “declar[ing] that the

requirement exists and repeat[ing] that it must be followed.” Nat. Resources Def.

Council v. Southwest Marine, Inc., 236 F.3d 985, 1000 (9th Cir. 2000). Rather, the

Court may impose “equitable measures [] reasonably calculated to remedy an

established wrong.” Id. (citation and quotation marks omitted). Such measures may

include keeping records of annual inspections to ensure compliance with Section

185(w)(3), particularly given that PHMSA has provided no pipeline inspection

records in the administrative record or in response to Guardians’ FOIA requests,



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and the agency admitted during argument on its motion to dismiss that it does not

keep such records. A separate relief phase could aid the Court in determining the

appropriate scope of injunctive relief.

                                  CONCLUSION
      In sum, this case is about PHMSA’s failure to perform its legally-required

duty under Section 185(w)(3) to cause the inspection of all pipelines on federal

lands. PHMSA has admitted throughout this proceeding that it does not comply

with this duty, and has provided no record evidence that pipelines on federal lands

are being inspected on an annual basis either by PHMSA or pipeline operators.

Thus, the agency has failed to act within the meaning of APA § 706(1). PHMSA

attempts to divert the Court’s attention away from these inconvenient facts by

rehashing previously-rejected arguments regarding jurisdiction and standing. But

PHMSA’s arguments lack merit and do not prevent the Court from reaching the

merits of this case. Guardians respectfully requests that the Court grant Guardians’

motion for summary judgment, declare that Defendants have violated Section

185(w)(3) of the Mineral Leasing Act, and compel Defendants’ unlawfully

withheld actions.

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Respectfully submitted on the 16th day of January 2020,

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                          CERTIFICATE OF COMPLIANCE

      I certify that this response is in compliance with L.R. 7.1 and the Court’s

June 13, 2019 Scheduling Order (Doc. 35). The response is 5,502 words, as

counted using the word count feature in Microsoft Word and excluding the caption,

table of contents, table of authorities, certificate of compliance, and certificate of

service.



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                            CERTIFICATE OF SERVICE

      I certify that on January 16, 2020, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF filing and transmission service, which

caused all ECF-registered counsel to be served by electronic means.

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